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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

ELIJAH CRUSOE,                                        )
                                                      )
               Plaintiff,                             )
                                                          Case No. 15-cv-01891
v.                                                    )
                                                      )
HARPER COLLEGE,                                       )
                                                      )
               Defendant.                             )   Honorable Thomas M. Durkin
                                                      )
                                                      )   Magistrate Judge Martin


                 MOTION FOR ENTRY OF CONFIDENTIALITY ORDER

       Plaintiff, ELIJAH CRUSOE, by and through his attorneys, Steven M. Puiszis and Susan

M. Baker of Hinshaw & Culbertson LLP, moves this Court for the entry of a Confidentiality

Order, pursuant to Rule 26 of the Federal Rules of Civil Procedure and Local Rule 26.2. In

support of his Motion, Plaintiff states as follows:

       1.      Plaintiff filed a Complaint on March 3, 2015, alleging Defendant discriminated

against him in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§

2000e et seq. (“Title VII”), on the basis of his race and sex, and retaliated against him for

engaging in protected activity. Plaintiff also contends Defendant discriminated against him on

the basis of his disability in violation of the Americans with Disabilities Act of 1990, as

amended, 42 U.S.C. §§ 12101 et seq. ("ADA") and terminated his employment in retaliation for

taking a leave of absence pursuant to the Family and Medical Leave Act, 29 U.S.C. 2601 et. seq.

("FMLA").

       2.      In its Requests for the Production of Documents to Plaintiff, Defendant requested

documents pertaining to Plaintiff's disability and medical leave, including: (6) "Produce all

documents related to your disability"; (7) "Produce all documents relating to your claim that the

College discharged you because you took or requested to take a leave of absence pursuant to the

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Family and Medical Leave Act"; and (8) "Produce all documents relating to your claim that the

College discriminated or retaliated against you as a result of a disability or your medical leave of

absence." Defendant also requested personal and confidential financial information, including:

(17) "Produce your income tax receipts, filings and W2 forms for the years 2002 to the present."

See Defendant's Requests for Production to Plaintiff attached as Exhibit 1. In order to fully

respond to this Request, Plaintiff is required to disclose and produce personal and confidential

medical information pertaining to his health in addition to financial information, which includes

his social security number among other confidential and personally identifying data.

       3.      In light of the production of confidential information, Plaintiff conferred with

counsel for Defendant on August 20, 2015 and requested the Parties file a joint motion for the

entry of an agreed confidentiality order. See August 20, 2015 Email attached as Exhibit 2.

Pursuant to this request, counsel for Plaintiff proposed an Agreed Confidentiality Order based on

this Court's Model order pursuant to Local Rule 26.2.

       4.      Counsel for Defendant objected to the entry of the proposed Confidentiality Order

on the basis that it was too lengthy and extensive. When prompted as to which provisions could

be removed, counsel for Plaintiff then indicated that, after further consideration, they would not

agree to the entry of a Confidentiality Order and would prefer that Plaintiff make a motion. See

August 21, 2015 Email attached as Exhibit 3.

       5.      Plaintiff has attached hereto as Exhibit 4 the proposed Confidentiality Order and

also submitted the order to: Proposed_Order_Durkin@ilnd.uscourts.gov.

       WHEREFORE, Plaintiff, ELIJAH CRUSOE, respectfully requests that this Honorable

Court enter the Confidentiality Order as proposed by Plaintiff and for any further relief this

Court deems just and appropriate.




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                                 RESPECTFULLY SUBMITTED,

                                 s/ Steven M. Puiszis


                                 Steven M. Puiszis
                                 Susan M. Baker
                                 Hinshaw & Culbertson LLP
                                 222 N. LaSalle Street, Suite 300
                                 Chicago, IL 60601
                                 Telephone: (312) 704-3219
                                 Fax: (312) 332-7768
                                 E-mail: sbaker@hinshawlaw.com
                                 E-mail: spuiszis@hinshawlaw.com

                                 Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

      I hereby certify that on August 25, 2015 I electronically filed the above and foregoing
Motion for Entry of Confidentiality Order with the Clerk of the U.S. District Court, using the
CM/ECF system reflecting service to be served on all parties of record.

                                                  HINSHAW & CULBERTSON LLP


                                                  s/ Steven M. Puiszis
                                                  Steven M. Puiszis




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